   Case 2:17-cv-00822-DLR Document 57 Filed 11/30/17 Page 1 of 7



                  UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF ARIZONA

                         _________________


Talonya Adams,                )
                              )      No. CV-17-00822-PHX-DLR
         Plaintiff,           )
                              )
         vs.                  )            Phoenix, Arizona
                              )              June 14, 2017
Arizona Senate,               )                4:27 p.m.
                              )
         Defendant.           )
_____________________________ )


        BEFORE:   THE HONORABLE DOUGLAS L. RAYES, JUDGE


              REPORTER'S TRANSCRIPT OF PROCEEDINGS

                  RULE 16 SCHEDULING CONFERENCE

APPEARANCES:
For the Plaintiff:
    Law Offices of Guy David Knoller PLLC
    By: Guy David Knoller, Esq.
    7321 North 16th Street
    Phoenix, AZ 85020

For the Defendant:
    Office of the Attorney General
    By: N. Todd McKay, Esq.
    1275 West Washington Street
    Phoenix, AZ 85007

Official Court Reporter:
Jennifer A. Pancratz, RMR, CRR, FCRR, CRC
Sandra Day O'Connor U.S. Courthouse, Suite 312
401 West Washington Street, Spc 42
Phoenix, Arizona 85003-2151
(602) 322-7198

Proceedings Reported by Stenographic Court Reporter
Transcript Prepared by Computer-Aided Transcription



                  UNITED STATES DISTRICT COURT
        Case 2:17-cv-00822-DLR Document 57 Filed 11/30/17 Page 2 of 7
                                                                              2


 1                         P R O C E E D I N G S

 2            (Proceedings commenced at 4:27 p.m.)

 3            COURTROOM DEPUTY:     Civil Case No. 17-822, Adams versus

 4   Arizona Senate, on for Rule 16 scheduling conference.

 5            Counsel, please announce for the record.

 6            MR. KNOLLER:     Good afternoon, Your Honor.      Guy Knoller

 7   on behalf of the plaintiff; and the plaintiff herself, Talonya

 8   Adams, is on the phone.

 9            THE COURT:    Good afternoon.

10            MR. MCKAY:    Good afternoon, Your Honor.       Todd McKay on

11   behalf of Defendant Arizona Senate.

12            THE COURT:    Okay.   This is the time for our scheduling

13   conference.

14            I've had a chance to review your joint proposed

15   discovery plan.   It looks pretty straightforward.        I don't see

16   a problem with the deadlines you guys have agreed to.         Let me

17   just ask a quick couple questions.

18            Mr. Knoller, what discovery do you intend?         You intend

19   to take some depositions in this case?

20            MR. KNOLLER:     Probably, Your Honor.     We've already

21   promulgated interrogatories and requests for production, both

22   sides have.

23            THE COURT:    And who do you expect you'll be deposing?

24            MR. KNOLLER:     Who do I -- excuse me, Your Honor?       Who

25   do I expect to depose?


                       UNITED STATES DISTRICT COURT
        Case 2:17-cv-00822-DLR Document 57 Filed 11/30/17 Page 3 of 7
                                                                         3


 1             THE COURT:    Who do you expect to depose?

 2             MR. KNOLLER:    Probably Wendy Baldo and maybe a senator

 3   or two.

 4             THE COURT:    Okay.   So you're thinking maybe three

 5   depositions?

 6             MR. KNOLLER:    Probably, Your Honor.     Around that.

 7             THE COURT:    Do you anticipate an expert in the case?

 8             MR. KNOLLER:    No, Your Honor.

 9             THE COURT:    All right.    And from the defense?

10             Your deposition of the plaintiff.       Anybody else?

11             MR. MCKAY:    The plaintiff, for sure; and beyond that,

12   I guess we'll see.     But I don't anticipate, you know, a high

13   number of depositions.

14             THE COURT:    And what about experts?     Do you anticipate

15   using any experts in the case?

16             MR. MCKAY:    Don't anticipate it.

17             THE COURT:    Okay.   So this should be pretty

18   straightforward then.

19             Let me just -- do you think you're going to need --

20   let's see, here we are in June -- six months for the discovery

21   in this case?

22             I mean, you're looking at three or four depositions,

23   no experts.    Do you think you need more -- I'm just wondering

24   if we could back this date up.       You guys are thinking

25   January 5, 2018.    I'm thinking what if we moved it to November?


                        UNITED STATES DISTRICT COURT
        Case 2:17-cv-00822-DLR Document 57 Filed 11/30/17 Page 4 of 7
                                                                             4


 1   Would that be a problem for you?      Deadline for discovery.

 2            MR. MCKAY:     Yeah.   I guess my only, you know, issue

 3   would be, you know, we've now completed the briefing on the

 4   motion to dismiss.    And I know Your Honor had indicated that,

 5   you know, as soon as plausible, we would have an opportunity to

 6   get a ruling on that.

 7            THE COURT:     All right.   I guess I'll go with your

 8   dates since we do have that motion pending.

 9            So let's do this.      I need to set a deadline for

10   joining parties and amending pleadings.       Doesn't look like

11   there will be any of that at this point, so I'm going to set a

12   deadline, and you guys tell me if you disagree with this, if we

13   set this for July 31st?

14            MR. KNOLLER:     That should be fine, Your Honor.

15            THE COURT:     Okay.   Deadline for completion of fact

16   discovery, January 5, 2018.

17            You guys have given me dates for your expert

18   disclosures, so I'll just stick them in there.        Deadline for

19   plaintiff to disclose his experts, September 29th.         Plaintiff,

20   September 29th.   Defendant, October 27th.      And rebuttal,

21   plaintiff's rebuttal, November 17th.

22            Completion of expert depositions, December 15th.

23            And the deadline for filing dispositive motions,

24   February 2nd.

25            All right.     Let's set an interim -- well, we don't --


                       UNITED STATES DISTRICT COURT
           Case 2:17-cv-00822-DLR Document 57 Filed 11/30/17 Page 5 of 7
                                                                                5


 1               I want to set an interim scheduling conference in

 2   December, Michele.

 3               And this will be telephonic, this interim scheduling

 4   conference.

 5               COURTROOM DEPUTY:     We can set that on December 20th at

 6   9:00 a.m.

 7               THE COURT:    December 20th at 9:00 a.m.       It's a

 8   conference call.      I want to find out where you are with your

 9   discovery.     You should be pretty much done by then or close to,

10   and then what the intent is with regard to any dispositive

11   motions.     If there's no dispositive motions coming down the

12   pike, we'll just set a trial date at that time.           Okay?

13               MR. KNOLLER:    Yes, Your Honor.

14               THE COURT:    All right.    Is there anything else to take

15   up?

16               MR. KNOLLER:    No, Your Honor.

17               THE COURT:    All right.    One last thing.     If there's a

18   discovery dispute, do not file a motion.          Let's get on the

19   phone.     We can resolve most of them over the phone.

20               The one issue that gives me the problem on the

21   discovery disputes over the phone are issues involving

22   privilege.     But most of the time, if it's not a privilege

23   issue, we can take care of it over the phone.

24               All right.    Anything else?

25               MR. KNOLLER:    No, Your Honor.


                          UNITED STATES DISTRICT COURT
     Case 2:17-cv-00822-DLR Document 57 Filed 11/30/17 Page 6 of 7
                                                                          6


 1         MR. MCKAY:    No, Your Honor.     Thank you.

 2         THE COURT:    Okay.   We'll stand in recess.      Thank you.

 3         (Proceedings concluded at 4:32 p.m.)

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                    UNITED STATES DISTRICT COURT
        Case 2:17-cv-00822-DLR Document 57 Filed 11/30/17 Page 7 of 7
                                                                        7


 1                         C E R T I F I C A T E

 2

 3              I, JENNIFER A. PANCRATZ, do hereby certify that I am

 4   duly appointed and qualified to act as Official Court Reporter

 5   for the United States District Court for the District of

 6   Arizona.

 7              I FURTHER CERTIFY that the foregoing pages constitute

 8   a full, true, and accurate transcript of all of that portion of

 9   the proceedings contained herein, had in the above-entitled

10   cause on the date specified therein, and that said transcript

11   was prepared under my direction and control.

12              DATED at Phoenix, Arizona, this 30th day of November,

13   2017.

14

15

16
                          s/Jennifer A. Pancratz_       _______
17                        Jennifer A. Pancratz, RMR, CRR, FCRR, CRC

18

19

20

21

22

23

24

25
